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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION

                         CASE NO.23-80101-CR-CANNON

  UNITED STATES OF AMERICA

  v.

  CARLOS DE OLIVEIRA
                 Defendant.
  ____________________________/

                       MOTION FOR LEAVE TO TRAVEL

        Defendant Carlos De Oliveira, by and through undersigned counsel,

  respectfully requests that this Court enter an Order permitting him to travel to the

  Middle District of Florida on December 17, 2023, and January 8, 2024.

        On July 31, 2023, the Court set Mr. De Oliveira’s Conditions of Bond, which

  prohibited him from traveling outside the Southern District of Florida unless

  otherwise approved by the Court prior to any such travel (ECF No. 90). Mr. De

  Oliveira therefore seeks the Court’s permission to travel to the Middle District of

  Florida on December 17, 2023, and January 8, 2024, with his family, including out-

  of-town guests, for holiday vacation purposes.

        Undersigned counsel has inquired of government counsel and Mr. De

  Oliveira’s Probation Officer as to whether they object to this request. Government
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  counsel does not object, and the Probation Officer defers to the Government. At the

  Probation Officer’s request, Mr. De Oliveira shall provide her with the details of his

  travel prior to his departure.


  Dated: December 6, 2023


                                   Respectfully Submitted

                                      /s Larry Donald Murrell, Jr.         b
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                                      /s John S. Irving, IV                 g
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                                   Attorneys for Defendant Carlos De Oliveira
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 6, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

  counsel of record via transmission of Notices of Electronic Filing.



                                     /s Larry Donald Murrell, Jr.       b
                                  LARRY DONALD MURRELL, JR.
